

Brooklyn Minds Psychiatry P.C. v 8 W 37 LLC (2024 NY Slip Op 51741(U))



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Brooklyn Minds Psychiatry P.C. v 8 W 37 LLC


2024 NY Slip Op 51741(U)


Decided on December 24, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on December 24, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., James, Perez, JJ.



570472/24

Brooklyn Minds Psychiatry P.C. and O &amp; C 1, LLC, Petitioners-Appellants,
against8 W 37 LLC, Respondent-Respondent.




Petitioners Brooklyn Minds Psychiatry P.C. and O &amp; C 1, LLC, as limited by their brief, appeal from that portion of an order of the Civil Court of the City of New York, New York County (Jeanine R. Johnson, J.), entered July 5, 2023, which dismissed the petition in an illegal lockout proceeding (see RPAPL 713[10]).




Per Curiam.
Order (Jeanine R. Johnson, J.), entered July 5, 2023, insofar as appealed from, reversed, without costs, petition reinstated, and the matter remanded to Civil Court for further proceedings.
Civil Court improperly dismissed this illegal lockout proceeding based upon a lack of standing. Petitioner O &amp; C 1, LLC [O &amp; C] was the tenant of record of the premises at the time of the alleged lockout, pursuant to a (June 2019) written lease with respondent-landlord. Thus O &amp; C could not be evicted without legal process (see P &amp; A Bros. v City of NY Dept. of Parks &amp; Recreation, 184 AD2d 267, 268 [1992]), and has standing to maintain this illegal lockout proceeding (see RPAPL 713[10]). 
The record so far developed is unclear as to whether co-petitioner Brooklyn Minds Psychiatry P.C. was in "actual possession" at the time of the lockout (RPAPL 713[10]). However, given the pending Supreme Court litigation between all the parties with regard to the lease (see 8 W 37 LLC v O &amp; C 1, LLC, et al, Sup Ct NY County, index No. 653185/2022), we reinstate its petition as well, and remand for further proceedings, and express no view as to its ultimate outcome on the merits.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: December 24, 2024









